            STANDARD PRELIMINARY ORDER FOR ALL CIVIL CASES

       To facilitate efficient disposition of motions and prompt resolution of disputes, the

Court supplements and modifies the Local Rules as follows. It is ORDERED that:

       1.     The Court enforces the requirements of the Local Rules, as modified and

supplemented herein. Parties are reminded that spacing, margin, and font constraints are

mandatory, as are word limits; legal arguments require citation to legal authority; factual

assertions unsupported by citation to specific evidence in the record will be disregarded;

and a citation to a multi-page exhibit must contain a pin cite to the specific page and, where

possible, the line or paragraph number containing the cited evidence. To the extent a party

incorporates by reference arguments in other briefs, the word limit for the incorporating

brief is correspondingly decreased.

       2.     Litigants should submit proposed orders contemplated by Local Rule

5.3(f)(3) in Word format.

       3.     The parties are excused from compliance with Local Rule 5.1 absent

specific request from the Court. When requested, litigants shall deliver paper copies of

briefs and exhibits to the Case Manager within three business days.

       4.     Because the Court generally works paperless, it is helpful for the parties to

refer to pleadings, briefs, exhibits, and other materials on the docket by the CM-ECF

docket and page number, when that is possible.

       5.     When a party proffers deposition testimony in support of or in opposition to

a motion, per Local Rule 7.1(c), the party shall submit relevant excerpts and plenty of

surrounding content to provide context for cited passages. All excerpts from one person’s
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deposition shall be submitted as one exhibit. Condensed transcripts of depositions are

welcome. If a deposition transcript contains fewer than 30 pages, or if the litigant

contemplates that the deposition will be referenced in motions several times over the course of

the litigation, it may be submitted in full.

       6.      If one party has filed a document, a deposition, or other evidentiary material

as an exhibit in support of or opposition to a motion, the exhibit should not ordinarily be

filed again absent a specific reason. Whether needed in connection with the motion at

issue or a future motion, the previously-filed exhibit can simply be referenced and

incorporated by description and CM-ECF docket number. Unnecessary duplicates

complicate the record and confuse the Court.

       7.      The Court discourages motions to seal, especially in connection with

motions unrelated to discovery disputes, as the public has a strong interest in access to

court records and courts have a strong interest in transparency. If a party nonetheless

intends to file a motion to seal, the following rules apply:

              A.     For motions to seal contemplated in connection with briefing or

                     exhibits related to a dispositive motion, a motion to compel

                     arbitration, a motion for class certification, or other motion unrelated

                     to discovery, the party must seek a telephone conference with the

                     Court at least three weeks before filing the motion to seal. The request

                     should be directed by email to the Court's case manager. Failure to

                     request such a conference followed by the filing of a motion to seal

                     may result in the denial of the motion or in an appropriate sanction.

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     B.    A party seeking to file an exhibit or brief fully or partially under seal

           has the burden to establish, both as to the facts and the law, why public

           access should be denied. Statements in briefs are not evidence and are

           insufficient to meet this burden. The Court requires an affidavit from

           a knowledgeable witness explaining what content is confidential and

           why. Overbroad or unsupported motions will be denied without a

           second chance. Before filing a motion to seal, counsel should review

           some of the Court’s many opinions in this area, several of which are

           available on the Middle District website under “Opinions.” Patent

           cases are not treated differently.

     C.    When an exhibit contains evidence relevant to a pending motion

           along with other words, sentences, paragraphs, pages, or attachments

           that are not relevant or necessary to the Court's consideration of the

           pending motion and filing the irrelevant matters would necessitate a

           motion to seal, a party may redact the irrelevant information from the

           exhibit without filing a motion to seal and without filing a complete

           unredacted copy.

     D.    When filing a motion to seal, the moving party shall, in the unredacted

           version filed under seal per LR 5.4(a), highlight in yellow all of the

           information sought to be sealed so that the Court can easily identify

           the information sought to be sealed.

8.   If a handwritten brief or pleading is necessary in the case of a pro se

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litigant, the document must be double-spaced and legible. It must comply with the

margin requirements of the Local Rules.

      9.       The Court often shortens the time for briefing in connection with motions to

amend, discovery disputes, and other non-dispositive motions. The parties should plan

accordingly.



                                       /s/ Catherine C. Eagles
                                   UNITED STATES DISTRICT JUDGE




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